        Case 3:15-cr-00044-JO   Document 869   Filed 08/28/17   Page 1 of 4



                                                                FILED28 AUG 7 1711 ((llEDC-ORP
                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA               §
                                       §
                                       §
v.                                     §   Case No. 3:15-cr-00044-J0-15
                                       §
                                       §
JOSE MATA                              §



     MOTION FOR JAIL CREDIT FOR TIME SPEND IN HOME INCARCERATION

      COMES NOW, Jose Mata, acting pro se respectfully request this
Honorable Court for jail credit on time spent in home detention.
In request for the jail credit, Mr. Mata states as follows:


                            FACTUAL BACKGROUND
      On February 11, 2015, Mr. Mata was arrested based on the
indictment that charge him with conspiracy to distribute and possess
with intent to distribute heroin in violation of 21 U.S.C. §§§
841(a)(1), 841(b)(1)(B) and 841(b)(1)(C).
      On February 23, 2015, Mr. Mata was approved for home detention
with 24 hours GPS ankle monitoring and with restrictions that
did not allow him to travel certain areas without prior approval
from probation department and court order. As part of condition
for ankle monitoring, Mr. Mata was required to pay $105 monthly
for ankle monitoring fee.
      On May 26, 2016, Mr. Mata appeared before this Honorable
Court, and entered a guilty plea to the charge, and was ordered
continue home incarceration by the court pending sentencing.

                                     1.
       Case 3:15-cr-00044-JO   Document 869   Filed 08/28/17   Page 2 of 4



     On September 21, 2016, Mr. Mata appeared before the District

Court for sentencing. The Court after reviewing the PSR, sentenced

Mr. Mata to 120 months imprisonment in the federal prison. Mr.

Mata was ordered to serve a 5 year-term of supervised release

upon his release from federal prison. He was also ordered to

pay $100 court assessment fee.· The District Court again ordered

Mr. Mata to remained in home incarceration with all previous

conditions applied, and to turn himself in to Federal Bureau

of Prisons (BOP) authority on January 12, 2017.

     On January 12, 2017, Mr. Mata surrendered to Federal Correctional

Institution, Oakdale, Louisiana to start serving his prison

sentence.

     Mr. Mata is currently incarcerated at FCI-Oakdale-1, Louisiana,

and request this Honorable Court to grant his motion awarding

him jail credit for 23 months spent in home incarceration between

February 11, 2015 until January 12, 2017.



                  1HE DISIRICT HAS 1HE AlJIIDRI'IY TO AWARD
            JAIL CRFDIT FOR TIME SPFMl DURING ID1E INCARcmATIOO"

     Under the provision of U.S.S.G. § 5G1.3(b), the sentencing

court retain jurisdiction and discretion, as well as legal authority

to grant time credit for home incarceration to account for the

23 months defendant spent on home confinement.

     Mr. Mata asserts that the jail credit for time he spent

during home incarceration would not otherwise be credited to

his original sentence without order from sentencing judge authorizing

such jail credit. Authorization of jail credit for home incarceration

by a federal sentencing judge is not without precedent.

                                     2.
          Case 3:15-cr-00044-JO   Document 869   Filed 08/28/17   Page 3 of 4



     In United States V. Huey Cole, No. 08-231 U.S. Dist. (E.D.
Louisiana, Sept. 27, 2011), the United States District Judge
granted 23 months jail for time defendant spent during his home
detention. The Court in Huey Cole, noted that "the sentence
is not departed from the United States Sentencing Guidelines,
but is imposed under the provisions of USSG § 5G1.3(a) to account
for 23 months the defendant spent on home incarceration which
would not otherwise credited by the Bureau of Prisons.
     To be sure, in Koray V. Sizer, 21 F.3d 558 (3rd Cir. 1994), the
Third Circuit Court of Appeal reversed an order of the district
court that denied petitioner inmate's request for a writ of habeas
corpus. The Court remanded for a determination as to whether
petitioner was held in jail type conditions when he was confined
pursuant to a court order to a halfway house. The Third Circuit
held that petitioner could be entitled to credit for his time
spend in a condition of restriction such as halfway house. (Emphasis
added).
     In the instant case, Mr. Mata was placed under home confinement
with severe restrictions for 23 months, starting from February
11, 2015 until January 12, 2017. Mr. Mata's activities were severely
restricted, he was placed on ankle monitoring, and not authorized to
travel outside the pre-approved of condition approved by the probation
office without prior approval. Furthermore, he was required to
pay monthly fee of $105 for the ankle monitoring service. Mr. Mata's
condition was a jail type when he was confined under home incarceration.



                                       3.
       Case 3:15-cr-00044-JO   Document 869   Filed 08/28/17    Page 4 of 4



    Accordingly, granting jail credit for the time Mr. Mata
spent during his period of home incarceration towards his 10
years sentence is not a departure from sentencing guidelines,
but to account for 23 months spent under a severe and hash conditions
of jail house type during his home confinement.
    WHEREFORE, PREMISES CONSIDERED, Mr. Mata respectfully ask
that this Honorable Court grant time credit for 23 months he
spent on home incarceration consistent with USSG § 5G1.3(a).
The said credit will not otherwise be credited towards Mr. Mata's
10 years sentence without this Court order granting such credit.


Dated: August~' 2017                                    RESPECTFULLY SUBMITTED:


                                                         JOSE MATA (Pro se)
                                                         REG. NO. 76735-065
                                                         FCI-OAKDALE-1
                                                         P.O. BOX 5000
                                                         OAKDALE, lA 71463


                        CERTIFICATE OF SERVICE
     I, Jose Mata, certify that a true and correct copy of the
foregoing motion for jail credit for time spend in home incarceration
has been forwarded to attorney for the government, addressed
to Assistant U.S. Attorney , for the District of Oregon. Mailed
this the~ day of August 2016, via U.S. mail postage prepaid.

                                                          RESPECTFULLY SUBMITIED:


                                                               JOSE MATA (Pro se)

                                    4.
